  Case 19-01615-jw             Doc 93       Filed 09/13/19 Entered 09/13/19 12:32:02                        Desc
                                                  Page 1 of 3


                                   UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                                   CASE NO: 19-01615-JW

SHIRLEY KAYTE BURGESS                                    (CHAPTER 13)



                           Debtor
           NOTICE OF MOTION TO DISMISS CHAPTER 13 CASE AND POSSIBLE HEARING

    James M. Wyman, the Chapter 13 Trustee, has filed papers with the court to dismiss this Chapter 13 case .

    Your rights may be affected. You should read these papers carefully and discuss them with your
attorney, if you have one in this bankruptcy case . (If you do not have an attorney, you may wish to consult
one.)

    If you do not want the court to dismiss this Chapter 13 case , or if you want the court to consider your views on
the motion to dismiss, then on or before twenty-one (21) days from the date of service, you or your attorney must:

    File with the court a written response explaining your position at:

                  U.S. Bankruptcy Courthouse
                  J. Bratton Davis
                  1100 Laurel Street
                  Columbia, SC 29201-2423

    If you mail your response to the court for filing , you must mail it early enough so the court will receive it on or
before the date stated above.

    You must also send a copy to:

                  James M. Wyman
                  Office of the Chapter 13 Trustee
                  P.O. Box 997
                  Mt. Pleasant, SC 29465-0997

    If a response is filed, a hearing will be held on October 17 , 2019 at 10:00 am at 145 King Street, Room 225,
Charleston, SC 29401.

    If you or your attorney do not take these steps , the court may decide that you do not oppose the relief sought in
the motion and may enter an order granting that relief .



Dated: September 13, 2019                                           /s/ Kimberly Lamontagne
                                                                    PO Box 997
                                                                    Mt. Pleasant, SC 29465-0997
                                                                    Phone: (843) 388-9844
                                                                    Fax: (843) 388-9877
                                                                    Email: 13office@charleston13 .com
  Case 19-01615-jw           Doc 93       Filed 09/13/19 Entered 09/13/19 12:32:02                        Desc
                                                Page 2 of 3


                                 UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF SOUTH CAROLINA

IN RE:                                              CASE NO: 19-01615-JW

SHIRLEY KAYTE BURGESS                               (CHAPTER 13)

                                                     TRUSTEE'S MOTION TO DISMISS CHAPTER 13 CASE FOR
                                                                      NON-PAYMENT
                          Debtor

     NOW COMES the Chapter 13 Trustee in this case and alleges:

     1. This court has juridiction over this matter under 28 U.S.C. Section 1334 and 11 U.S.C. Section 1307(c)(5).

     2. The Debtor in this case has not made the required payments under the plan .

     3. Debtor is/are past due $2,791.00 as of August 2019. The Trustee requests that the Debtor cure the
     delinquency as follows:

      Payments as follows to be received by the Trustee by the end of the following months:
         September 2019    at $1,097.00
         October 2019      at $1,604.00
         November 2019     at $1,604.00
         December 2019     at $1,604.00
         January 2020      at $1,604.00
         February 2020     at $1,604.00
         March 2020        at $1,604.00
      Resume regular monthly payments of $1,097.00 beginning April 20, 2020.
    4. If the Debtor is currently or in the process of having Trustee payments automatically debited from a
    paycheck, ONLY the Debtor('s) regular monthly payment can be deducted . Debtor are responsible for sending
    in the EXTRA payments needed to bring the case current .

    5. The Trustee requests that should the Debtor fail to cure the delinquency as set forth above , that an order be
    entered dismissing the case.

Dated: September 13, 2019                                      /s/ James M. Wyman
                                                               James M. Wyman
                                                               Chapter 13 Trustee
                                                               PO Box 997
                                                               Mt. Pleasant, SC 29465-0997
                                                               Phone: (843) 388-9844
                                                               Fax: (843) 388-9877
                                                               Email: 13office@charleston13 .com
 Case 19-01615-jw       Doc 93     Filed 09/13/19 Entered 09/13/19 12:32:02            Desc
                                         Page 3 of 3


19-01615-JW
                               CERTIFICATE OF SERVICE

I did this date serve the attached document(s) on the parties listed below by placing the same
in the United States mail with proper postage affixed thereto and addressed as follows :

SHIRLEY KAYTE BURGESS
5288 SEABOARD ROAD
SALTERS, SC 29590


WILLIAM JOSEPH BARR
108 NORTH ACADEMY ST
KINGSTREE, SC 29556-0000



Date: September 13, 2019                              /s/ Kimberly Lamontagne
                                                      Kimberly Lamontagne
                                                      PO Box 997
                                                      Mt. Pleasant, SC 29465-0997
                                                      Phone: (843) 388-9844 x 302
                                                      Fax: (843) 388-9877
                                                      Email: 13office@charleston13.com
